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                                                     March 13, 2025

VIA ECF

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Opposition to Sealing of Exhibits in United States v. Adams, No. 24-CR-556 (DEH)

Dear Judge Ho:

        We represent NYP Holdings, Inc., the publisher of the New York Post. We write to join in
The New York Times Company’s opposition (ECF No. 163) to the Government’s request to seal
Exhibits A–H to the Government’s March 7, 2025 filing (ECF No. 161). For the reasons explained
in The New York Times Company’s opposition, the constitutional and common-law rights of
access to judicial documents are at their apex here, and they mandate that these exhibits promptly
be made available to the public and press.

       We thank the Court for its attention to this matter.

                                                     Respectfully submitted,

                                                     Davis Wright Tremaine LLP



                                                     By:
                                                               Robert D. Balin
                                                               Jeremy Chase
                                                               Raphael Holoszyc-Pimentel
